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                      THE STATUTES
                                         OF




           OKLAHOMA ,
            SI O *
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                     OF




                                    1893


   Being a Compilation of all the Laws now in force in the
                          Territory of Oklahoma .
       8180

   Compiled Under the Direction and Supervision of Robert Martin , Secretary
                                 of the Territory


                                         BY



    W. A. McCARTNEY , JOHN H. BEATTY and J. MALCOLM JOHNSTON ,

                  a Committee Elected by the Legislative Assembly .




                                GUTHRIE, OKLAHOMA,
                          STATE CAPITAL PRINTING CO.,
                                         1893 .




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                         CRIMES AND PUNISHMENT .                                                  503

      (2402 ) $ 6.     Every person who, with intent to extort any                         Chap. 25,
money or other property from another, sends to any person any Sending
letter or other writing , whether subscribed or not , expressing or thr   eatening
                                                                      letter.
implying , or adapted to imply , any threat , such as is specified in
the second section of this article , is punishable in the same man
ner as if such money or property were actually obtained by means
of such threat.
   (2403 ) $ 7. Every person who unsuccessfully attempts by means Attempting
                                                                   to extort
of any verbal threat such as is specified in the second section of money .
this article, to extort money or other property from another is
guilty of a misdemeanor.


                     ARTICLE 45. -CONCEALED WEAPONS.
SECTION ,                                     SECTION .
 1.    Prohibited weapons enumerated .         6.   Drgree of punishment.
 2.    Same .                                  7.   Public bumibilmgs and gatherings.
 3.    Minors.                                 3.   Intent of persons carrying weapons .
 4. Public officials, when privileged.         9.   Pointing weapon at another.
 5.    Arms, when lawful to carry .           10.   Violation of certain sections .


  (2404 $ 1. It shall be unlawful for any person in the Terri Prohibited
tory of Oklahoma to carry concealed on or about his person , sad - weapons
                                                                        enumera ed

dle, or saddle bags, any pistol , revolver, bowie knife, dirk , dagger,
slung -shot, sword cane, spear, metal knuckles, or any other kind
of knife or instrument manufactured or sold for the purpose of de
fense except as in this article provided.
  (2405 ) $ 2. It shall be unlawful for any person in the Terri                            Same
tory of Oklahoma, to carry upon or about his person any pistol ,
revolver, bowie knife , dirk knife, loaded cane , billy , metal knuckles,
or any other offensive or defensive weapon , except as in this arti
cle provided .
  ( 2406 ) § 3. It shall be unlawful for any person within this Minors.
Territory, to sell or give to any minor any of the arms or weapons
designated in sections one and two of this article .
      (2407 ) $ 4. Public officers while in the discharge of their Publice -
                                                                  ciai ,
duties or while going from their homes to their place of duty, or privileged.
returning therefrom, shall be permitted to carry arms, but at no
other time and under no other circumstances: Provided , however,
That if any public officer be found carrying such arms while under
the influence of intoxicating drinks , he shall be deemed guilty of
a violation of this article as though he were a private person .
  (2408 ) $ 5. Persons shall be permitted to carry shot-guns or                            Arms, wles
rifies for the purpose of hunting, having them repaired, or for kill- 1n wiulis
                                                                      Cilliy
ing animals, or for the purpose of using the same in public muster
or military drills, or while travelling or removing from one place
to another, and not otherwise.
  (2409 ) $ 6. Any person violating the provisions of any one of Degree of
the foregoing sections, shall on the first conviction be adjudged punishment.
guilty of a misdemeanor and be punished by a fine of not less than
twenty - five dollars nor more than fifty dollars, or by imprison
ment in the county jail not to exceed thirty days or ho į at the
discretion of the court.              On the second and every subsequent con
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   504                                          CRIMES AND PUNISHMENT.

     Chap . 25. viction , the party offending shall on convictior be fined' not less
                     than fifty dollars nor more than two hundred and fifty dolla .5 0.
                     be imprisoned in the county jail not less than thirty days nor
                     more than three months or both , at the discretion of the court .
     Public                ( 2410 ) $ 7.        It shall be unlawful for any person , except a peace
    million and
            .   officer, to carry into any church or religious assembly, any school
                     room or other place where persons are assembled for public wor
                     ship, for amusement, or for educational or scientific purposes, or
                     into any circus, show or public exhibition of any kind, or into any
                     ball room , or to any social party or social gathering, or to any elec
                     tion , or to any place where intoxicating liquors are sold , or to any
                     political convention, or to any other public assembly, any of the
                     weapons designated in sections one and two of this article.
    Intent of
   per DS ('arry .
                                      . It shall be unlawful for any person in this Terri
                           ( 2411 ) § 8.
   buy wea yous. tory to carry or wear any deadly                       weapons or dangerous in
                     strument whatsoever, openly or secretly, with the intent or for the
                     avowed purpose of injuring his fellow man .
     Pointing
   weapons at an
                        ( 2412 ) $ 9. It shall be unlawful for any person to point any
   other.
                     pistol or any other deadly weapon whether loaded or not , at
                     any other person or persons either in anger or otherwise.
     Violation of
   meetion    ven
                       (2413) S 10. Any person violating the provisions of section
                     seven, eight or nine of this article ; shall on conviction , be punish
                     ed by a fine of not less than fifty dollars, nor more than five hun
                     dred and shall be imprisoned in the county jail for not less than
                     three not more than twelve months.


                                 ARTICLE 46. - FALSE PERSONATION AND CHEATS.
                     SECTION.                                     SECTION ,
                      1.False impersonation, punishment for.       7. False representation of charitable pur
                     2. False impersonation and receiving                 poses.
                                money .                            8. Falsely representing banking cor
                     3. Personating officers and others .                 porations.
                     4. Unlawful wearing of grand army badge .     9. Using false check .
                     5.      Fines, how paid.                     10. Iloluing mock auction.
                      6. Obtaining property under false pre
                                tenses ,


      Punishment
   for false i m ·
                           ( 2414 ) § 1. Every person who falsely personates another, and
   personation ,   in such   assumed character, either :
                                Marries or pretends to marry, or to sustain the mar
                           First .
                     riage relation toward another, with or without the connivance of
                     such other person ; or,
                           Second.         Becomes bail or surety for any party, in any proceed
                     ing whatever, before any court or officer authorized to take such
                     bail or surety ; or ,
                       Third. Subscribes, verifies, publishes, acknowledges or proves,
                     in the name of another person , any written instrument, with in
                     tent that the same may be delivered or used as true ; or,
                        Fourth . Does any other act whereby, if it were done by the
                     person falsely personated, he might in any event become liable to
                     any suit or prosecution, or to pay any sum of money, or to incur
                     any charge, forfeiture or penalty, or whereby any be :cſit might
                     accrue to the party personating, or to any other person .
